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                                UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF IDAHO
   In re:

   MIKE TERANCE TRACY,
   JULIA SCYSILLIA NELSIONI,                     Case No. 20‐40074‐JMM

                   Debtors.

   NANCY KUNAU,

                   Plaintiff,
   vs.                                           Adversary No. 20‐08024‐JMM

   MIKE TERANCE TRACY,

                   Defendant.

                          AMENDED DEFAULT JUDGMENT AND ORDER
         JUDGMENT IS ENTERED AS FOLLOWS:
            1. Plaintiff’s Application for Default Judgment is GRANTED.
            2. Judgment is ENTERED recognizing the Idaho 5th District, Cassia County
               Magistrate Court’s appointment of Nancy Kunau as Guardian ad Litem in that
               case, along with her appointed legal counsel, both to represent the best
               interests of the children, and that such debts incurred within the scope of those
               appointments and awarded by that court, are NONDISCHARGEABLE pursuant to
               §523(a)(5) as against Defendant Mike Terance Tracy.
            3. Plaintiff’s Motion for Fees and Costs is GRANTED.
            4. Judgment is ENTERED awarding fees and costs to Plaintiff, Nancy Kunau and her
               legal counsel, in the amount of $1,794.00 in fees and $11.00 in costs, payable by
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                Defendant Mike Terance Tracy, together with post‐judgment interest accruing as
                provided by statute with related collection and execution fees and costs.
                                        DATED: August 6, 2020



                                        ________________________
                                        JOSEPH M. MEIER
                                        CHIEF U. S. BANKRUPTCY JUDGE




Submitted by:
/s/ Paul Ross_________
Attorney for Plaintiff




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Default Judgment and Order
